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                             UNITED STATES DISTRICT COURT
                             SO UTH ERN D ISTR ICT O F FLO RIDA

                                CA SE N O .21-20173-C R-SC O LA

  UN IT ED STA TE S O F A M ER IC A



  TYRESE COO PER,

         D efendant.
                                         /

                                      PL EA A G R EEM EN T

         TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFlorida(çtthisOffice'')and
  TyreseCooper(hereinafterreferredtoasthelsDefendanf')enterintothefollowingagreement:
         1.     The D efendantagreesto plead guilty to Count2 ofthe indictm ent,w hich charges

  the D efendantw ith brandishing a tirearm in furtheranceofa crim eofviolence,in violation ofTitle

  18,UnitedStatesCode,Section924(c)(1)(A)(ii).Thegovernmentagreestodismisstheremaining
  countofthe indictm entatsentencing.

         2.     The Defendant is aware that the sentence willbe im posed by the Courtafter

  considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
  ttsentencing Guidelines'').The Defendantacknowledges and understands thatthe Courtwill
  com pute an advisory sentence underthe Sentencing Guidelines and thatthe applicable guidelines

  willbedeterm ined by theCourtrelying inpartontheresultsofapre-sentenceinvestigationby the

  Court'sprobation office,w hich investigation willcom m enceafterthe guilty plea hasbeen entered.

  The Defendant is also aw are that,under certain circum stances,the Courtm ay departfrom the

  advisory sentencing guideline range that ithas com puted,and m ay raise or low er that advisory

  sentence underthe Sentencing Guidelines.The D efendantis further aw are and understands that

  the Courtisrequired to considerthe advisory guideline range determ ined underthe Sentencing

  Guidelines,butisnotboundtoim poseasentencewithinthatadvisoryrange;theCourtisperm itted
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  totailortheultim atesentencein lightofotherstatutory concerns,and such sentencem ay beeither

  m ore severe orlesssevere than the Sentencing Guidelines'advisory range.Knowing thesefacts,

  the Defendant understands and acknowledges thatthe Courthas the authority to im pose any

  sentence within and up to the statutory m aximum authorized by law fortheoffense identified in

  paragraph 1 and thatthe Defendantm ay notw ithdraw the plea solely as a resultofthe sentence

  im posed.

                The Defendantalso understands and acknowledgesthatasto Count2,the Court

  m ust impose a term of im prisonment of7 years and may impose a m axim um term up to life

  im prisonm ent,follow ed by a term of supervised release up to five years.In addition to a term of

  imprisonmentand supervised release,the Courtmay impose a tine ofup to $250,000 and may
  orderforfeitureand restitution.

                The Defendant further understands and acknowledges that,in addition to any

  sentenceim posedunderparagraph 3ofthisagreement,aspecialassessmentintheamountof$100
  willbeimposedon theDefendant.TheDefendantagreesthatanyspecialassessm entim posedshall

  bepaid atthetimeofsentencing.lfaDefendantisfinancially unabletopaythespecialassessm ent,

  theDefendantagreesto presentevidenceto thisOffice and the Courtatthetime ofsentencingas

  to thereasonsfortheDefendant'sfailure to pay.

                This Office reservesthe rightto infonn the Courtand the probation offce ofa1l

  factspertinenttothesentencingprocess,including a1lrelevantinfonnationconcem ingtheoffenses

  comm itted,whether charged or not,as wellas concerning the Defendant and the Defendant's

  background.Subjectonly to theexpresstermsofany agreed-upon sentencingrecommendations
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  contained in thisagreem ent,thisOffice furtherreservestherightto m akeany recom mendation as

  to the quality and quantity ofpunishm ent.

         6.     This Office agreesthatitwillrecom mend atsentencing thatthe Courtreduce by

  two levelsthesentencingguidelinelevelapplicabletotheDefendant'soffense,pursuantto Section

  3E1.1(a)ofthe Sentencing Guidelines,basedupon theDefendant'srecognition and affirmative
  and tim ely acceptance of personal responsibility.If atthe tim e of sentencing the Defendant's

  offense level is determ ined to be 16 or greater,thisOffice will file a m otion requesting an

  additionaloneleveldecreasepursuantto Section 3E1.1(b)ofthe Sentencing Guidelines,stating
  thatthe Defendanthasassisted authoritiesin theinvestigation orprosecution ofthe Defendant's

  own misconductby tim ely notifying authoritiesofthe Defendant's intention to entera plea of

  guilty, thereby perm itting the governm ent to avoid preparing for trial and permitting the

  govem m entand the Courtto allocate theirresourcesefficiently.ThisOffice,however,willnotbe

  required to makethismotion iftheDefendant:(1)failsorrefusesto make a111,accurateand
  com pletedisclosure to theprobation office ofthe circumstancessurrounding therelevantoffense

  conduct;(2)isfoundtohavemisrepresentedfactstothegovernmentpriortoenteringintothisplea
  agreement;or(3)commitsanymisconductafterenteringintothispleaagreement,includingbut
  notlim ited to com m itting a state or federaloffense,violating any tenn ofrelease,orm aking false

  statem ents orm isrepresentationsto any govem m entalentity orofficial.

                TheDefendantisawarethatthesentencehasnotyetbeendeterminedby the Court.

  The Defendantalso isawarethatany estimate ofthe probable sentencing range orsentencethat

  the Defendant m ay receive, w hether that estim ate com es from the D efendant's attom ey, this

  O ftice,orthe probation oftk e,isa prediction,nota prom ise,and isnotbinding on thisO ftice,the


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          probation oftk e orthe Court.The Defendantunderstandsfurtherthatany recomm endation that

          thisOftk e m akesto the Courtasto sentencing,whetherpursuantto thisagreem entorotherwise,

          isnotbinding on the Courtand the Courtmay disregard the recommendation in itsentirety. The

          Defendantunderstandsandacknowledges, aspreviouslyacknowledged inparagraph2 above,that

          the Defendantmay notwithdraw his/herplea based upon the Court's decision notto accepta

          sentencing recom mendation made by the Defendant,this Oftke, or a recom mendation m ade

          jointlybytheDefendantandthisOffce.
                  8.   This is the entire agreement and understanding between this Oftk e and the

          Defendant. Thereareno otheragreem ents, promises,representations,orunderstandings.


                                                   JUAN ANTONIO GON ZA EZ
                                                   U N ITE STA TES A TTO EY


          Date:          j =                By:
                                                   H IL   Y T.IRV -
                                                   ASSISTANT UN E S ATES ATTORNEY


          oate: 1/ ï; z.                    ày:
                                                   ELIZA TH BLAIR
                                                   ATTO RN EY FO R DEFEN D AN T

         Date:             rl               By:
                                                   TY RESE CO OPER
                                                   D EFEN D AN T




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